Case 4§14-cv-00292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 1 of 18
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) GoDWlN EHIREMAN, )
)
Plaintiff, )
)
vs. ) Casc No.
) _
(1) sTANLEY GLANZ, sHERIFF 01= ) 1 4 CV " 2 9 2 GKF “’ FHM
TULSA COUNTY, His official capacity, )
and individual capacity, ) v
(2) BoARD or coUNTY ) F 1 L E D
COMMISSIONERS OF TULSA COUNTY, ) JUN
) 2 2014
Defendants, ) _. Phil Lombardi C;erk
u.s. D)sTR:cT COUR
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Def`endants Stanley Glanz, Sheriff` of Tulsa County, in his official and individual
capacities (“Glanz”), and Board of County Comrnissioners of Tulsa County (“BOCC”), by and
through their undersigned counsel, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby notify
this Court that they are removing the above-captioned action currently pending in the District
Court of Tulsa County, Oklahoma to the United States District Court for the Northern District of
Oklahoma. In support of this Notice of Removal, Defendants state as follows:

1. Plaintiff filed her Petition against Defendants in the District Court for Tulsa
County, Oklahoma, on May 9, 2014 (the “State Court Lawsuit”). Def`endants received service of
Plaintiffs Petition on or after May 14, 2014. Thus, this Notice of Removal is filed with this
Court Within thirty (3 0) days of the receipt of Plaintiff’s Cornplaint (or Petition) as required by
28 U.S.C. § 1446(b).

2. Defendants are filing a Status Report of Rernoved Action along With the filing of
this Notice of Removal. It is currently expected that Defendants Will also be filing Answers, or

other responses to the Petition, in this Court Within seven (7) days of filing this Notice of

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Removal. Pursuant to LCvR 81 .2, clear and legible copies of all documents filed or served in the
case are attached as follows: Plaintiff’ s Petition as Exhibit “l”, copies of the summons served
upon Defendants Glanz and BOCC as Exhibits “2” and “3”, respectively, and a copy of the
Docket Sheet as Exhibit “4.”

3. The basis for removal to federal court is federal question jurisdiction pursuant to
28 U.S.C. § 1331.

4. In accordance with 28 U.S.C. § 1446(d), Defendants are promptly filing a copy of
this Notice of Removal with the Clerk of the District Court for Tulsa County, Oklahoma.

5. In accordance with 28 U.S.C. § 1446(d), Defendants are also giving written notice
to Plaintiff by promptly Serving this Notice of Removal upon Plaintiff’ s counsel.

6. As required by 28 U.S.C. § 1441, Defendants seek to remove this case to the
United States District Court for the Northem District of Oklahoma, which is the District Court
embracing the place where the State Court Lawsuit has been filed.

FEDERAL QUESTION JURISDICTION

7. Plaintiff’s Petition makes claims under under Title VII of the Civil Rights Act of
1964, 42 U.S.C. § 2000e, et seq., 42 U.S.C. § 1981 and 42 U.S.C. § 1983. §§ Plaintiffs’
Petition, Exhibit “1.”

8. Accordingly, Plaintiff has invoked this Court’s original jurisdiction on “a claim or
right arising under the Constitution, treaties or laws of the United States.” 28 U.S.C. §§ 1331
and 1441.

9. Venue lies in this Court because Plaintiff"s action is pending in this district and

division. _Se_e 28 U.S.C. § 1441(a).

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WHEREFORE, Defendants Glanz and BOCC respectfully request that the above-
captioned action now pending in the District Court of Tulsa County, Oklahoma, be removed to
the District Court for the Northern District of Oklahoma, and that said District Court assume
jurisdiction of this action and enter such other and further orders as may be necessary to

accomplish the requested removal and promote the ends of justice.

Dated this 2nd day of June, 2014.

Respectfully submitted,

 

 

OK BarN b r13128

Assistant District Attorney

Tulsa County District Attorney’s Office
500 S. Denver Ave., Suite 832

Tulsa, OK 74103
douglas.Wilson@tulsacounty.org

(918) 596-8795

ATTORNEY FOR DEFENDANTS

CERTIFICATE OF MAILING & ELECTRONIC NOTICE
I hereby certify that on June 2, 2014, I electronically transmitted the foregoing document
to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

o Daniel E. Smolen

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‘ IN THE DISTRICT COURT IN AND FoR TULSA coUNTY ~ -
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GODWIN EHIREMAN,

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VS.
) Attorney Lien Clai ` ’
(2) srANLEY GLANZ, sHERIFF or ) MMAN CANTRELL
TULSA coUN'rY, His 0fr1cia1 capaciry, ) DISTRICT COURT
and individual capacity, ) F a E
(3) BoARD oF CoUNTY )
coMMlssroNERs oF TULSA coUNTY,) MAY - 9 2014
)
Defendants. )

WE SM|TH. COURT CLERK
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PETITION

COMES NOW the Plaintiff, Godwin Ehireman, through his attorneys of record,
brings this action against Defendants, Stanley Glanz, Sheriff of Tulsa County and Board
of County Commissioners of Tulsa County, for violations of his constitutionally
protected rights arising out of his employment and termination by said Defendants.

PARTIES, JURISD!CTION AND VENUE
l. Plaintiff is a resident of Tulsa County, Oklahoma.
2. Defendant Board of County Commissioners is a governmental entity conducting
regular activity in Tulsa County, State of Oklahorna. Defendant regularly employs more
than fifteen (15) people.
3. Defendant Stanley Glanz is citizen of the United States and a resident of Tulsa
- County, State of Oklahoma.

4. The incidents and occurrences which form the basis of Plaintiff’s action occurred

in Tulsa County.

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5. This Court has jurisdiction and venue is proper in Tulsa County.

6. The is an action for damages and to secure protection of and to redress

deprivation of rights secured by Title VII of the Civil Rights act of 1964, as amended 42

U.S.C §2000-2 hereinafter (“'l`itle VlI”), 42 U.S.C. § 1981, and 42 U.S.C. § 1983.

7. Plaintiff`, a resident of Tulsa County, State of Oklahoma, filed a charge of

discrimination against the Defendants with the Equal Employment Opportunity

Commission (“EEOC”'). A Notice of Right to Sue was received by each Plaintiff and this
' Petition has been filed Within ninety days (90) of the receipt of the Notice of Right to

Sue. As such, Plaintiff has complied fully with all prerequisites in this Court under Title

VII.

8. Compensatory damages are sought pursuant to 42 U.S.C. § 2000e~5(g).

9. Costs and attomey’s fees may be awarded pursuant to 42 U.S.C. § 2000e S(g).

10. Punitive damages are sought pursuant to 42 U.S.C. § 1983.

11. Jurisdiction is proper and this action lies properly in Tulsa County as the unlawful

employment practices complained of herein occurred within Tulsa County and because
the Defendants conduct regular business in Tulsa County.

FACTS COMMON TO ALL CLAIMS

12. Plaintiff is an Af`rican American male.

13. Plaintiff began working for the Defendants as a detention officer in July of 2005.

14. Through the lottery system, Plaintiff was assigned to work in the inmate library.

Plaintiff was the first African American to hold this position. When Plaintiff began

working in that position his supervisor, Chaplain Hardgrove, told him that he did not

have time to train Plaintif`f and insinuated he did not want Plaintiff in the position.

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Chaplain Hardgrove failed to train the Plaintiff and harbored animus towards him
` because of Plaintiff’s race.
15. Plaintiff` continued to be subjected to different terms and conditions of
employment as compared to his non-African American counterparts. In fact, Chaplain
Hardgrove so resented the Plaintiff, because of his race, that Hardgrove hired a Caucasian
part-time worker, Cassandra. The position had never required two people in the past.
16. Hardgrove retired and Mr. Ho]loway became Plaintiff’ s supervisor. Mr. I-_lolloway
took away Plaintiff’s telephone, desk, and computer, then moved Plaintiff to a different
location away from the supplies he needed to complete his duties. All of the supplies that
were taken from Plaintiff were given to Cassandra, the part-time Caucasian worker.
. Additionally, because Plaintiff’s computer had been taken away, he was forced to share a
computer with a volunteer. Plaintitf suffered this different and demeaning treatment
because of his race and national origin His non-African American counterparts did not
suffer differential treatment
17. Plaintiff also suffered harsher discipline than his Caucasian coworkers when he
began reporting to Sergeant l.-l'inshaw. Spccifically, Plaintit`f` was called into an internal
affairs investigation and forced to take a lie detector test for allegedly engaging in an
inappropriate reiationship with an inmate Plaintift` is aware of non-African American
coworkers who were not disciplined as harshly as he was for similar or worse policy
violations Specifically, Piaintift` recalls that even amidst suspicion that Sergeant rlotlsley
(Caucasian) and Sergeant Kaiser (Caucasian) violated procedui'e_. which resulted in an
inmate’s death, those individuals were not tired. Addit:ionally, Corporal Stroope,

Caucasian, was in charge of inmate accounts However, when moneys went missing on

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her watch she was reassigned and not tired. Plaintiff further suspects that the
aforementioned individuals were not subjected to a polygraph test. Upon inthrmatic;n and
belief", the `Plainti'ff" is aware o‘l" an intimate relationship between Major Shannon Clark
and a Caucasian 'l."C`SO female e.mployee, similarly situated to Mr. Eh:lreman. wherein
neither were disciplined nor terminated after Defendant learned of the
‘ relationship Plaintiff was terminated although similarly situated non-Af`rican American
coworkers were not. ln fact, Plaintiff was terminated even though lie had never received
written discipline or any form of discipline prior to the incident that allegedly justified his
termination
18. Additionally, in or around January 2013, Plaintiff requested a transfer to the
classification and bond release position. Randy Pierce informed the Plaintif`f that he had
allegedly failed a background check and was therefore ineligible for transfer. This
statement was completely false, as Plaintiff never failed a background check. Plaintiff` is
unaware of any non-African American coworkers who were falsely told they failed a
§ background check. Plaintiff was denied the transfer and told he failed the background
check because of his race and national origin.
19. Finally, Plaintiff` complained to Chief Robinette because the race discrimination
was worsening. Shortly after making that complaint, Plaintiff was terminated from his
employment out of retaliation for complaining about race discrimination

FIRST CLAIM FOR RELIEF

DISCRIMINATION BASED ON RACE 111 ITLE VI![

20. Plaintiff incorporates as if realleged the preceding paragraphs.

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21. By terminating the Plaintiff` from his employment and treating him differently
than similarly situated Caucasian coworkers, the Defendant has violated 'l`itle VII of the
Civil Rights Act of 1964.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable.

SECOND CLAIM FOR RELIEF
42 U.S.C. 1981

22. Plaintiff incorporates as if realleged the preceding paragraphs
23. By terminating the Plaintiff from his employment and treating him differently
than similarly situated Caucasian coworkers, the Defendant has violated 42 U.S.C. §

1981,
WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

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THIRD CLAIM FOR RELIEF
RETALIATION §TITLE VII|

24. Plaintiff incorporates as if realleged the preceding paragraphs

25. Plaintiff complained about the disparity in treatment

26. By terminating Plaintiff’ s employment in retaliation for his complaints regarding
the unfair treatment and race discrimination, Defendant has violated Title VII of the Civil
Rights Act of 1964, 42 U.S.C. §2000e-3(a).

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives;

d. I-lis attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

FOURTH CLAIM FOR RELIEF
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

27. Plaintiff incorporates as if realleged the preceding paragraphs.

28. The Defendants’ actions of intentional and malicious discrimination and
retaliation are extreme and outrageous and have caused severe emotional and
psychological damage to the Plaintiff.

29. The Defendants intentionally or recklessly caused severe emotional distress to
Plaintiff beyond which a reasonable person could be expected to endure.

WHERFORE, Plaintiff prays for judgment against the Defendants for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and

Case 4:14-cv-OO292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 10 of 18

other non-pectmiary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives; 4

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

Respectfi)lly submitted,

   

 

. Smolen, OBA 19®&

701 S. Cincinnati Ave.,
Tulsa, OK 74119

P: (918) 585-2667

F: (918) 585-2669_
Attorneys for Plaintiff

Case 4:14-cv-OO292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 11 of 18

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Plaintiff, ) _ |
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vs. ) c '- 0 1 4 0 1 8 4 2 .
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TULSA COUNTY, His official capacity, ) z
and individual capacity, )
(3) BoARD oF coUNTY ) ,
CoMMIssIoNERs or TULSA coUNrY,) DISTRICT COURT .
- ) E D
Defendants. )
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v SALLY HOWE SMlTH -r‘,{l" 'QT CLERK
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Stanley Glanz '_, ` v
c/o Tulsa County , § l
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Tulsa, oK 74103 _.< § ;
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To the above-named Defendant(s) hi g
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You have been sued by the above named plaintiff(s), and you are dirmm to file a written
' answer to the attached petition and order in the court at the above address Wi ` entHZO) days
after service of this -summons upon you exclusive of the day of service. W_ithin the same time, a
. copy of your answer must be delivered or mailed to the attorney for the plaintiff Unless you answer

the petition within the time stated judgment will be rendered against you with costs of the action.

Issued this 2 day of [i_/ Léj¢§ 4 l , 2014

County Court Clerk

By MM,/"\
De Court Clerk
(Seal)
This summons and order was served on

 

(Signature of person serving summons)

   

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED W'ITH THIS SUI'I` OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE

Case 4:14-cv-OO292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 12 of 18

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CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE

TIME LIMIT STATED IN THIS SUMMONS.

 

 

 

 

Return ORIGINAL for tiling.
PERSONAL SERVICE

I certify that l received the foregoing Summons the day of 2014, and that I
delivered a copy of said Summons with a copy of the Petition to the following named defendant
personally -in County, at the address and on the
date set forth opposite each name, to-Wit:

Name of Defendant Address Date of Service
USUAL PLACE OF RESIDENCE
I certify that I received the foregoing Summons on the day of , 2014, and that on
I served by leaving a copy of said summons

 

 

with a copy of the attached Petition at

 

Which is his/her dwelling house or usual place of abode, with

age or older

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Subscrit PS Form 3811, February 2002 boomsuo Return Roeelpt 10259502-\-1540
My Commission Expires: k
Seal Notary Public

CERTIFICATE OF SERVICE BY MAIL
I certify that I mailed copies of the foregoing summons with a copy of the Petition to the
following named defendant at the address shown by certified mail, addressee only, return receipt

 

requested, on the day of 2014, and receipt thereof on the dates shown:
Defendant Address Where Served Date
Receipted

Signature of person mailing summons

 

Case 4:14-cv-00292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 13 of 18

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STATE oF oKLAHoMA STAIE:

 
 

 

 

GODWIN EHIREMAN, ) " '
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Plaintiff, )
) CJHE 30
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) Attorney Lien Claimed
(2) STANLEY GLANZ, SHERIFF OF )
TULSA COUNTY, His official capacity, )
and individual capacity, ) R EC E 5 V E D
(3) BOARD OF COUNTY ) MAY 1 4 ,
CoMMIsSIoNERS oF TULSA coUNTY,) mm
. ) . , l
Defendants. ) DB‘B?;¢¥H"B&
ORIGINAL SUMMONS

 

SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Board of County Commissioners of the County of Tulsa
c/o Tulsa County Clerk

Tulsa County Administration Bldg.

500 S. Denver

Tulsa, OK 74103-3832

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff Unless you answer
the petition within the time statedjudgment will be rendered against you with costs of the action;

135qu this @ day Of /\/l/o't\,ll ' ,"2014

County Court Clerk

By Deé/ty Court Cfl;r'k§)

(Seal)
This summons and order was served on

 

(Signature of person serving summons)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER

Ex. 3

Case 4:14-cv-00292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 14 of 18

CONNECTED WITH THIS""`UIT OR YOUR ANSWER. SUCH A?" " ‘DRNEY SHOULD BE
" CONSULTED IMMEDIA'ILQY SO THAT AN ANSWER MAY BE r`ILED WI'I`HIN THE

TIME LIMIT STATED IN THIS SUMMONS.

Return ORIGINAL for filing.
PERSONAL SERVICE
l certify that I received the foregoing Summons the day of , 2014, and that I

delivered a copy of said Summons with a copy of the Petition to the following named defendant

personally in County, at the address and on the

date set forth opposite each name, to-Wit:

 

Name of Defendant Address Date of Service
USUAL PLACE OF RESIDENCE
I certify that I received the foregoing Summons on the day of , 2014, and that on
I served by leaving a copy of said summons

 

 

with a copy of the attached Petition at ,
which is his/her dwelling house or usual place of abode, with
, a person then residing therein, Who is fifteen (15) years of

 

 

 

 

 

age or older.
NOT FOUNI)
Received this Summons this clay of . 2014. I certify that the following
persons of the defendant within named not found in said County:
FEES
Fee for service S , Mileage $ ,
Total $
Dated this day of , 2014;
By:
Sheriff of County,
AFFIDAVIT
l, , the undersigned, under oath, do say that l served this
Surnmons and made the return thereon, according to law that I am duly authorized to make this
affidavit so help me God.

Sheriff of County,

Subscribed to and sworn to before me this clay of , 2014.
My Commission Expires:
' Seal Notary Public

CERTIFICATE OF SERVICE BY MAIL
I certify that I mailed copies of the foregoing summons with a copy of the Petition to the
following named defendant at the address shown by certified mail, addressee only, return receipt

 

requested, on the day of , 2014, and receipt thereof on the dates shown:
Defendant Address Where Served Date
Receipted

Signature of person mailing summons

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The information on this page is NOT an ofEcial record. Do not rely on the correctness or completeness of this in£nmation. Verify all inf)rmation
with the official record keeper. The ini)rmation contained in this report is provided in compliance with the Oldahoma Open Records Act, 51 O.S.
24A.1. Use of this intimation is governed by this act, as well as other applicable state and federal laws.

 

 

 

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA
GODW|N EHIREMAN,

 

0. CJ-2014-1842

v Plaintiff' (civn relief more than 310,000;
STANLEY GLANZ, sHERlFF oF TuLsA ISCRMNA“ON)
couNTY,

Defendant, and ded: 05/09/2014

BOARD OF COUNTY COMM|SSIONERS OF
TULSA COUNTY,

: t _
Defendant. J“dge Can fell, Dalmn H

 

 

 

Parties

 

BOARD OF COUNTY COM|VIISS|ONERS OF TULSA COUNTY , Defendant
EH|REMAN, GODW|N , Plaintiff
GLANZ, STANLEY , Defendant

 

Attorneys
Attorney Represented Parties
SMOLEN, DAN|EL E(Bar # 19943) EH|REMAN, GODW|N

701 S. ClNClNNATl
TULSA, OK 74119

Events

 

Event Party Docket Re porter

|ssues

 

For cases filed before 1/1/2000, ancillary iss.ies may not appear except in the docket.

lssue # 1. lssue: D|SCR|M|NAT|ON
(D|SCR||V|)
Filed by: EH|REMAN,
GODW|N
Filed Date: 05/09/2014

 

Case 4:14-cv-OO292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 16 of 18

 

 

 

 

 

 

 

 

 

Pam[ Name: Di§gosition lnformation:
Defendant: GLANZ, STANLEY Pending.
Defendant: BOARD oF couNTY coMMlssloNERs oF Pending.
TuLsA couNTY
Docket
Date Code Count Party Seria| Entry Date
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Case 4:14-cv-OO292-GKF-FHI\/| Document 2 Filed in USDC ND/OK on 06/02/14 Page 17 of 18

OKLAHOMA COURT APPOlNTED SPECIAL ADVOCATES($ 5.00)

 

 

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05-09-2014 ccAoMlN04 - 89604319 3:§§:30:40‘;,,“,, Reahzed s 0.50

COURT CLERK ADM|N|STRAT!VE FEE ON COLLECTIONS($ 0.50)

 

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May 9 2014 .
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cJ-2014-1842: $173.00 oN Aco1 cLERK FEEs.
cJ-2014-1s42: $6.00 oN Aczs LAW LlBRARY FEE.
cJ-2014-1s42: $0.70 oN Acs1 couRT cLERK REvoLleo FuNo.
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PAR`IY HAS BEEN SUCCESSFULLY SERVED. SUMMONS SERVED ON BOCC,
STAMPED TULSA COUNTY MA|L ROON|, NO DATE OF DELIVERY NOTED, BY
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05~19-2014 S - GLANZ, sTANLEv 89847625 9:2 4: 1 815 03 AM _ 3 0_90

PARTY HAS BEEN SUCCESSFULLY SERVED. SUMMONS SERVED ON STANLEY
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